        Case 3:12-cv-00657-BAJ-RLB           Document 333      06/30/14 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

KENNETH HALL
         Plaintiff,
and

BYRON SHARPER
         Plaintiff-Intervenor,
                                                      CIVIL ACTION NO.: 3:12-cv-657
v.                                                          BAJ/RLB

STATE OF LOUISIANA, et al

               Defendants.



          MOTION IN LIMINE TO LIMIT TO LIMIT DR. RONALD WEBER
     FROM OFFERING TESTIMONY REGARDING ELECTION SYSTEM DILUTION
                      AND RACIAL GERRYMANDERING

       Plaintiff Kenneth Hall and Plaintiff-Intervenor Byron Sharper (hereinafter referred to as

“Plaintiffs”), through undersigned counsel, files this Motion in Limine to Limit Dr. Ronald

Weber From Offering Testimony Regarding Election System Dilution and Racial

Gerrymandering as follows:

                                                1.

       Dr. Weber should be precluded from testifying to Plaintiffs’ claims that the Defendants’

operation and enforcement standards, practices, or procedures for electing Baton Rouge City

Court judges has a system vote dilutive effect as provided in Dr. Richard Engstrom’s

Supplemental Report.

                                                2.

       Dr. Weber should be precluded from testifying to Plaintiffs’ claims that Act 609 (1993)

operates as a racially gerrymandered election plan.
        Case 3:12-cv-00657-BAJ-RLB           Document 333       06/30/14 Page 2 of 2



       WHEREFORE, Plaintiff Kenneth Hall and Plaintiff-Intervenor Byron Sharper

respectfully requests this Honorable Court limit Dr. Weber’s report and testimony.

                                                    RESPECTFULLY SUBMITTED:

                                                    The Law Office of Ronald R. Johnson

                                                    __/s/ Ronald R. Johnson_______________
                                                    Ronald R. Johnson (La Bar Roll No. 14402)
                                                    Law Offices of Ronald R. Johnson
                                                    5550 North Foster Drive
                                                    Baton Rouge, Louisiana70805
                                                    Telephone: (225) 356-3408
                                                    Facsimile: (225) 356-4438
                                                    ronaldjohnson@bellsouth.net

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 30th day of June, 2014, a true and correct copy of the

Motion in Limine has been electronically filed using the Court’s CM/ECF filing. A true and

correct copy of the aforementioned motion has been sent to all counsel of record by operation of

the court’s electronic filing system.

       Baton Rouge, Louisiana, this 30th day of June, 2014.

                                                    __/s/ Ronald R. Johnson__
                                                    RONALD R. JOHNSON
